     Case 23-50444-JTD   Doc 46-6   Filed 10/06/23   Page 1 of 5




                         EXHIBIT F





10/5/23, 3:47 PM             Case 23-50444-JTD             Doc 46-6   Filed
                                                                       About 10/06/23
                                                                             NEJM       Page 2 of 5
                                                                             IMPORTANT SAFETY
                                       FOR ADULTS WITH CHRONIC
                                      HEPATITIS C VIRUS (HCV) GT 1-6         INFORMATION
                                    INFECTION WITHOUT CIRRHOSIS OR           BOXED WARNING: RISK OF HEPATITIS B
                                     WITH COMPENSATED CIRRHOSIS.             VIRUS REACTIVATION IN HCV/HBV
                                                                                        Full Prescribing Information




                                                          About NEJM


About NEJM




The New England Journal of Medicine (NEJM) is recognized as the world’s leading medical journal and
website. Published continuously for over 200 years, NEJM delivers high-quality, peer-reviewed research
and interactive clinical content to physicians, educators, researchers, and the global medical community.

Our mission is to publish the best research and information at the intersection of biomedical science and
clinical practice and to present this information in understandable, clinically useful formats that inform
health care practice and improve patient outcomes.

To these ends, NEJM sets the highest standards for:

    Editorial, peer, and statistical review processes to evaluate manuscripts for scientific accuracy, novelty,
    and importance.

https://www.nejm.org/about-nejm/about-nejm?query=footer                                                                1/4
10/5/23, 3:47 PM             Case 23-50444-JTD            Doc 46-6   Filed
                                                                      About 10/06/23
                                                                            NEJM       Page 3 of 5
    Policies and practices to ensure that authors disclose all relevant financial associations and that such
    associations in no way influence the content NEJM publishes.

As a truly global brand and flagship of NEJM Group, NEJM keeps health care professionals at the leading
edge of medical knowledge, fosters broad understanding in their areas of interest, and provides a variety
of engaging and innovative ways to learn.



NEJM History
1812

John Collins Warren, a Boston physician and scholar, collaborated in 1811 with colleague James Jackson
to establish the first medical journal in New England, publishing the first quarterly edition of the New
England Journal of Medicine and Surgery and the Collateral Branches of Medical Science (Boston) in January of 1812.

1921

In 1921, the journal merged with the Boston Medical Intelligencer to become the Boston Medical and Surgical
Journal; it also began weekly publication that year and was purchased by the Massachusetts Medical
Society.

1928

Renamed to the New England Journal of Medicine in 1928, the journal is known for many firsts in medicine,
including the first to publish a full description of spinal disk rupture (1934) and the first to document
success in treating early childhood leukemia (1948).

1978

NEJM becomes the first American medical journal to receive the distinguished Polk Award for
journalistic excellence.

1996

Digitization of NEJM content begins with the launch of NEJM.org.

2010

NEJM launches the NEJM Archive (1812-1989), providing searchable access to an additional 150,000+
NEJM articles dating back to 1812.

For additional NEJM historical milestones, see Fact Sheet.
https://www.nejm.org/about-nejm/about-nejm?query=footer                                                               2/4
10/5/23, 3:47 PM             Case 23-50444-JTD            Doc 46-6   Filed
                                                                      About 10/06/23
                                                                            NEJM       Page 4 of 5
NEJM Today
Today, NEJM is the most widely read, cited, and influential general medical periodical in the world. More
than a million people from nearly every country read NEJM in print and online each week.

Each year, NEJM receives more than 16,000 research and other submissions for consideration for
publication. About 5% of original research submissions achieve publication by NEJM; more than half
originate from outside the U.S.

NEJM is cited more often in scientific literature than any other medical journal. With a 2022 Journal
Impact Factor of 158.5, NEJM is a top-ranking medical journal in the general medicine category. [Source:
2022 Journal Impact Factor, Journal Citation Reports (Clarivate, 2023)]

NEJM is a Public Access journal. All original research content is freely available on NEJM.org six months
after the date of publication. In addition, readers in qualifying low-income countries are granted free
access to all articles on NEJM.org dating back to 1990. The editors also make articles that meet the
criteria for global and public health importance free to all readers immediately upon publication on
NEJM.org.

With the creation of a free NEJM.org account, readers have additional options for free access to
published content, including the choice of any two subscriber-only articles (from 1990 to present) each
calendar month, articles coordinated with medical meetings during the meeting, unlimited views of
Images in Clinical Medicine and Quick Take videos, and more.




    Tap into
    groundbreaking
    research and
    clinically relevant
    insights
https://www.nejm.org/about-nejm/about-nejm?query=footer                                                     3/4
10/5/23, 3:47 PM             Case 23-50444-JTD            Doc 46-6   Filed
                                                                      About 10/06/23
                                                                            NEJM       Page 5 of 5
       SUBSCRIBE




    Already a subscriber? Sign In or Renew




https://www.nejm.org/about-nejm/about-nejm?query=footer                                              4/4
